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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 COLLIN TRELLY,
                                                           DECLARATION OF
                                 Plaintiff,
                                                           ADAM GEIGER
        v.
                                                           Case No.: 13-cv-6248
 MONROE COUNTY DEPUTY SHERIFF GEIGER,

                                 Defendant.



Pursuant to 28 U.S.C. §1746, Adam Geiger, declares as follows:

       1.     I am a Monroe County Deputy Sheriff employed by Monroe County Sheriff

Patrick M. O'Flynn.

       2.     I was hired by the Monroe County Sheriff in 2009.

       3.     I attended the Basic Course for Police Officers (the "Police Academy"), which

was held at the Public Safety Training Center in Rochester, New York, and conducted by

Monroe Community College.

       4.     On September 20, 2011, I was employed as a Jail Deputy and was assigned to,

Third Platoon, 4 South Housing Unit.

       5.     A Jail Deputy is responsible for maintaining the safety and security of the

Monroe County Jail, overseeing the care, custody, and well-being of inmates, and tending to

inmates’ daily personal needs. This includes conducting periodic rounds to check inmate

behavior, cleanliness of the facility, developing rapport with inmates to identify and resolve

problems, mediate incidents, disturbances and complaints, and to determine the

appropriate strategy to take and when a higher level of involvement is required.

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        6.    As such, on September 20, 2011, I was tasked with providing security and

supervision for inmates housed within the Monroe County Jail, including the visual

inspection of each individual inmate housing unit. Attached as Exhibit A is a true and

accurate copy of General Order 47-09 “Security and Supervision.”

        7.    While I was conducting my 22:30 watch tour round on September 20, 2011, I

noticed a piece of paper covering Inmate Collin Trelly’s cell light, which is an infractable

offense.

        8.    In order to comply with my job responsibilities, I am required to maintain

uninterrupted personal visual observations of inmates.

        9.    I cannot maintain uninterrupted visual observations of inmates when the cell

light is covered, therefore, not allowing me to fully observe the cell.

        10.   As such, upon noticing that Inmate Trelly’s light was obstructed, I instructed

him to remove the paper.

        11.   Inmate Trelly became verbally abusive, got up, and removed the paper.

        12.   Satisfied that Inmate Trelly removed the paper and that I was able to

maintain an uninterrupted observation of his cell, I completed my tour.

        13.   Later that night, while completing a relief tour with Deputy Fleming, I noticed

Inmate Trelly’s light was again obstructed by paper.

        14.   For a second time, I instructed Inmate Trelly to remove the paper from the

cell light.

        15.   Inmate Trelly again became verbally abusive; however, after instructing him

to remove the paper from the light several more times, he complied.

        16.   As I began to walk away, Inmate Trelly said “suck my dick cocksucker.”


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       17.     At that point, I entered Inmate Trelly’s cell to counsel him for failing to follow

the rules and regulations of the jail, including my repeated orders not to cover his cell light.

       18.     I proceeded to exit Inmate Trelly’s cell and continued the tour before the end

of my shift.

       19.     I never placed my hands on Inmate Trelly or had any physical contact with

Inmate Trelly on September 20, 2011.

       20.     I did not know Inmate Trelly prior to my interaction with him on September

20, 2011.

       21.     General Order 58-J-09 requires that an Incident Report shall be used by the

Jail Bureau to record and document any circumstances surrounding incidents of a non-

criminal nature that a Deputy feels requires complete documentation. Attached as Exhibit

B is a true and accurate copy of General Order 58-J-09.

       22.     On numerous occasions I have counseled inmates regarding the rules and

regulations of the jail.

       23.     In my experience, this incident did not rise to the level of needing an Incident

Report. Instead, I made a notation in the log regarding the incident. Attached as Exhibit C

is a true and accurate copy of my log notation.

       24.     Had physical contact been made with Inmate Trelly, I would have completed

an Incident Report and immediately contacted my supervisor.

       25.     Furthermore, the Monroe County Sheriff's Office conducted an Internal

Affairs Investigation into this incident and determined that Inmate Trelly’s allegation of use

of force was unfounded and that I did not violate any Monroe County Sheriff's Office policy

or procedures.


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I declare under penalty of perjury that the foregoing is true and correct.


Executed on July 14, 2017

                               s/ Adam Geiger
                         ____________________________________________
                                    Adam Geiger




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            Exhibit A
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'I




                                                  COUNTY OF MONROE
                                             OFFICE OF THE SHERIFF
                                                   ROCHESTER, NEW YORK

                 General Order             Date of Issue                 Effective Date                     No.
               Jail Bureau                Febr~ary 11,2009              February 11, 2009                 47·09
          Subject: General Orde·r                                          Distribution                  Amends

                         Security and Supervision                     Jail Bureau Personnel

          REFERENCE: Section 7003.3 (1)(3}&(4) of the New York State Commission of                      Rescinds
                          Corrections Minimum Standards, NYSSA 37, 38, 70, 130.                        JBGO 47·03
                                                                                                        JBB 12-08
                                                                                                   .
                                                                                                        JBB 18-08


          Purpose:         To establish policies and procedures designed to ensure and maintain facility safety, security,
                           and supervision for Inmates housed within the Monroe County Jail (MCJ) and the Monroe
                           Correctional Facility (MCF}.

          Polley:          It Is the policy of the Monroe County Sheriff's Office to provide security and supervision In
                           accordance with Part 7003 of Title 9 ot the Official Compilation of Codes. Rules and
                           Regulations of the State of New York (9NVCRR Part 7003}.

          1. ·      De1lnltlons

                    A.      Supervisory VIsit: The personal visual observatfon of each Individual Inmate by staff
                            members responsible for the care and custody of the rnmate(s) so as to monitor their
                            presence and proper -conduct. A personal, visual Inspection of each Individual Inmate
                            housing unit and the area Immediately surrounding such housing unit by staff members
                            respOhslble for the care and custody of Inmates to ensure the safety, security, and good
                            order of the facility.

                    B.     General Supervision: The accessibility to Inmates of staff members responsible for the
                           care and custody of such Inmates to Include conducting of supervisory visits at 30-mlnute
                           Intervals. General supervision will be maintained In all facHityhouslng areas when allnmates
                           are confined to hlslher ln61vldual housing units.

                    C.     Active Supervision: The accessibility to Inmates of sl~ff members responsible for the care
                           and custody of such Inmates to Include:

                            1.     The uninterrupted ability to communicate orally with and respond to each Inmate
                                   unaided by any electronic or other amplifying device.

                            2.     The conducting of supervisory visits at 30-mfnute Intervals.

                            3.     The ability of statr to Immediately respond to emergency situations.

                            4.     The continuous occupation of a security post In any housing area In which more than
                                   20 Inmates are housed.
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                                                                                                                ·-


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        D.     Constant Supervision: Will mean the uninterrupted personal visual observation of inmates
               by staff members responsible for the care and custody of such Inmates without the aid of any
               electrical or mechanical surveillance devices. Staff members will provide continuous and
               direct supervision by permanently occupying an establlshed post In close proximity to the
               Inmates under supervision which will provide staff with:

               1.      A continuous clear view of ali inmates under such supervision.

               2.      The ability to Immediately and directly Intervene In response to situations or
                       behaviors observed which threaten the health or safety of Inmates or the good order
                       of the faclllty.

U.      Reporting to Shift!Assigned Areas of Duty

        A.     Staff members will report to roll oallln accordance with MBG0-27, Attendance, Tardiness
               and Absenteeism.

        B.     Staff members will not be pennltled to bring any personal carry bags Into security, such as
               brief cases, personal folders, purses, duffel bags, back packs or any other bag carrying
               personal Items.

               EXCEPTION:       Staff assigned to MCJ and MCF will be permitted however, to store all
                                lunch/dinner Items within staff locker rooms or in available refrigerators In
                                security, away from housing areas until they are relieved for the meal. Staff
                                will not be permitted to take their lunch/dinner or any food Items to their
                                assigned area of duty.

        C.     Staff members reporting to their area of asslgnmel}t will, prior to assuming responsibilities,
               complete the following:

               1.      Obtain and Inspect all necessary keys for the assigned area.

               2.      Inspect all supplies, equipment, locks, gates, bars, security screens, security
                       windows, and other securing devices. Any equipment found missing, damaged, or
                       altered In anyway will be reported to the duty SergeanVshift supervisor Immediately.

               3.     . Conduct a debriefing regarding the prevlou~ shKt, tour the housing area, to Include
                        an Inmate phyalcal headcount, with the stan member being relieved. The staff
                        member completing his/her regularly scheduled shift will place the results of the
                        Inmate physical headcount In the log.

               4.      As soon as possible, review all written and/or computerized records maintained In
                       the area of assignment. Upon revlew,llst all assigned equipment, and the condition
                       of the housing area In the housing area log. All reviews, whether In a bound ledger
                       or a computerized log, will contain the date and the employee's name and IBM #.

Ill.    Logbook and Computerized Logging Procedures

        A.     New logbooks will be opened by assigned staff members, who will Identify on the Inside front
               cover of the logbook, the date and time the logbook was opened, the location of the logbook
               and the signature/IBM # of the staff member opening the logbook.
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               B.   All written records pertaining to facility housing supervision will be recorded In black ink in a
                    bound ledger of consecutively numbered pages. Records will include, but nol be limited to,
                    1~e following:

                    1.      The name of the housing area In which the supervision Is being maintained.

                    2.      The date and time of the supervision.
          ..        3.      The type of supervision being conducted; this must be logged at the start and
                            conclusion of each shift· whether ills General Supervision, Active Supervision, or
                            Constant Supervision. Anytime the level of supervision changes, a log entry must
                            be made documenting that change.

                    4.      The condition of the area being supervised.

                    5.      The n~me/IBM # of the staff member conducting the supervision.

               C.   Operations and Activity Logs

                     1.     All Black Creek and JMS       syst~ms    will be disabled before stan leaves his/her
                            terminal.

                            a.       At no time will any user operate Black Creek or JMS systems under another
                                     staff member's sign on.

                            b.       Interlock override Is strictly for emergency purposes only and Is not to be
                                     used as regular operating procedure to expedite the opening of a door.

                     2.     All housing areas will maintain floor activity log entries that will contain Information
                            relevant to the security, care, and custody of Inmates assigned to each housing area.
                            En~rles on JMS will be specific and Include, but not be limited to, routine and
                            emergency Information, the type of supervision being conducted (reference Section
                            Ill, aubsectlon·B of this order), staff actlon(s}, reportable Incidents, and slaff to staff
                            communications.

                     3.     All log entries are to be _
                                                      brief and accurate.

                     4.      If JMS Is down, bound paper logbooks will be Instituted. All entries will be preceded
                             by the date and time, and concluded with the staff member's signature/IBM #.
                             Entries will not be altered or deleted for any reason either In JMS or hand written
                             notations. Staff may only correct a handwritten entry by drawing a single straight Une
                             through the seoUon containing the error, and will place their Initials and IBM #
                             adjacent to the correction. lri accordance with 9NYCRR Part7003.3, If alterations to
                             entries must be made of a computerized log entry, it will require staff to make an
                             additional entry. Entries on~ computerized log will not be deleted.

                     5.      The duty SergeanVshlft supervisor will review the housing area log and tour all
                             housing/work areas at least once during eaoh ahlft dally, and note the
                             review/tour In the housing area log.
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           D.      Operations Status Board- Floor Status
           '
                   Housing area floor status will also be maintained on JMS and will be used to account for all
                   Inmates exiting housing areas for any reason. The Floor Status will be changed to refiect the
                   destination of each Inmate exiting the housing area. Upon return to the housing area, an
                   Inmate's Floor Status will be changed to "IN" or other appropriate status.

           E.      Supervisory Tour Logbooks

                   Supervisory tour logbooks (catwalk tour logbooks) will be maintained In all housing areas.
                   Supervisory vlslts conducted In the course of providing active or general supervision will be
                   entered In the housing area tour logbook at the time such visits (tours) are conducted. Tour
                   logbooks will not be kept on JMS, and will be contained In a bound ledger.

           F.      All logbooks, computerized logs, and Black Creek systems will be secured when not in use.

           G.      Staff will close out all completed logbooks by Identifying after the last entry In the logbook, the
                   date and time the togbook was completed and the signature/IBM# of the staff member
                   closing the logboo~. Completed logbooks wlll be retained In the housing area, In a secure
                   location, for at least three (S) weeks before being forwarded to archives for storage In
                   accordance with JBG0-25, Facility Record Retention System.

IV.        Inmate Supervision

           Supervisory tours will be conducted to maintain the safety, security, and good order of both MCJ and
           MCF. Staff conducting supervisory tours will exercise proper vigilance while performing their duty,
           paying special attention to the presence of contraband, building maintenance problems, Inmate's well
           being, attitudes, and overall housekeeping. Supervisory tours·wflllnclude, but are not lim lted to, the
           security Inspection of bathrooms, Interview rooms, and storage closets.

           All inmates will be restricted to their cell/bunk between 2200 hours and 0700 hours. Staff will not
           auJhorlze Inmates to leave their cell/bunk during the aforementioned time frame except In case of
           emergency, inmate work programs/assignments, release, or evacuation. In dormitory style housing
           areas, staff may authorize an Inmate to use the restroom facilities or receive prescribed
           medlcatlon(s).

           A.      Supervisory Tours wiU Include conducting of supervlsoryvlshs throughout all housing areas at
                   both the Monroe County Jail and the Monroe Correctional Facility.

                   1.       Active supervision will be maintained from 0700 hours to 2200 hours. General
                            supervision will be maintained between 2200 hours and 0700 hours. All shifts will
                            utilize the time recording system (key punch or annunciator when applicable) to
                            record each supervisory visit In addition to placing an entry In 1he bound tour
                            logbook. SupeiVIsory visits (tours) will be conducted at 30-mlnute Intervals.
      •            2.       The following areas will conduct supervisory tours at 15-mlnute Intervals, during all
                            above time frames: Central Booking, Reception, the Special Housing Unit, and the
                            200 Unit at MCF. As aforementioned, all shifts will utlUze the time recording system
                            (key punch or annunciator when applicable) to record .each supervisory visit In
                            addition to placing an entry In the bound tour logbook.
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       3.      Sergeants and shift supervisors will review the tour entries In the bound tour logbook
               for each area while conducting supervisory tours. Any discrepancies will be
               addressed Immediately.

       4.      Electronic key punch and annunciator watch tour records will be· reviewed by
               command staff. Platoon Lieutenants will review records from each housing area at a
               minimum of once per week. Any discrepancies will be addressed Immediately.

 B.    The Superintendent or designee (I.e. highest ranking staff member on duty) and/or the
       Contract Medical Provider may determine that an inmate requires additional supervision
       based on the Inmate's condition, Illness, or ln}ury. Additional supervision may Include:

       1.      More frequent supervisory visits.

       2.      Active supervision when only general supervision Is required.

       3.      Constant supervision. .

 C.     If an Inmate Is placed on constant supervision It will be documented on an Incident Report
       (JB·136Incldent Report-Jail Bureau) and the shift supervisor will be nollfled. Whenever
       circumstances require authorized staff to make short term supervision enhancements, a
       subsequent authorization to continue the Increased supervision by the Superintendent and/or
       facility physician, as well as the final authorization of the Superintendent, will be recorded In
       the Inmate's medical file and the housing staff will be notified accordingly.

 D.    Determinations or orders given requiring additional supervision In accordance with this
       section, as welt as those outlined In JBG0·31 Mental Health Protocols pertaining to
       constant ~upervlslon, will be documented in the housing area logbook and will include, but
       not be limited to the following:

       1.      The name(s) of the person(s) ordering additional supervision.

       2.      The specific facts and reasons underlying the determination.

       3.      The date(s) and time(s) the supervision Is to begin and end.

       4.      The name/IBM # of staff member conducting the supervision.

       5.      The staff member's observations of the Inmate's condition or behavior.

       6.      The date(s) and time{s) the supervision was actually Initiated and terminated.

 E.    Active supervision witt be maintained ·for Inmates participating In activities outside facility
       housing areas, however, the Chief Administrative Officer may determine that supervision,
       other than active supervision, Is required where appropriate, to Include, but not be limited to
       the following:

       1.       Constant supervision.
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             2.      Supervision by:

                     a. .     Facility staff members primarily responsible for duties other than the care
                              and custody of prisoners (I.e. food services start}.

                     b.       Other persons providing services within the facility, including persons
                              conducting facility programs (I.e. rehabilitation staff).

             3.      Inmates participating In temp~rary release programs as provided In New York State
                     Correction Law need not be supervised when such Inmates are outside the
                     confines of ~he facility.

             4.      The Chief Administrative Officer will determine the type and manner of supervision to
                     be provided to trustees while such trustees are outsld~;~ their facility housing areas.
                     Active supervision will be the rule, with general supervision maintained, at a
                     minimum.

v.     Inmate Population/Emergency Counts

       A.    Inmate population head-counts will consist of physical body·counts and will be conducted
             at each shift change In the transitional period from 0645 to 0700 hours, 1445 to 1500
             hours, and 2245 to 2300 hours. Staff members conducting .a physical headcount will
             restrict all Inmates to their cell/bunk until the count Is completed and verified. Inmates who
             are not physically-present In the housing area at the time of the headcolint will be accounted
             for and verified by location In the housing area activity log. Discrepancies ·r egarding
             physical headcount(s) will be reported to the housing area supervls.or, (at MCJ), or the
             facUlty supervisor, (at MCF), Immediately. Jail Records and the Chief Administrative
             Officer wiJI also be notified when there Ia a discrepancy during the count.

       B.    The staff member completing each regularly scheduled shift and the staff member beginning
             each regularly scheduled shift will conduct Inmate population counts at all scheduled shift
             changes and ~Ill account for all Inmates assigned to the hou~lng area. Staff members
             completing each regularly scheduled shift wttl enter the results of all physical head-counts In
             the housing area activity log In the JMS computer system under the drop down HEADCOUNT
             (UNIT), which will Include the following:

              1.     The facility area In which the count was conducted In the "Fir" field.

             2.      The actual date and time of the count In the "Activity Dt/Tm" field.

             3.      The total number of Inmates accounted for In the "Count" ileld.

              4.    . The number of inmates accounted for and location breakdown by cellblock or area
                      defined In the Operations Status Board In the "Notes" field.

             5.      The last names/IBM # of each staff member conducting the count In the
                     "Description" field.

       C.                                              a
             In addition to the ahlft change counts, staff member assigned to each housing area
             will conduct an Inmate population count at 1800 hours dally. This count will be
             documented according to the informational requirements outlined above In Section V,
             subsection B of this order.
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      D.    The staff member beginning each regularly scheduled shift will report the results of each
            physical inmate population head-count to the housing area supervisor. Housing supervisors
            will verify that all physical head-counts are properly logged and recorded In the housing area
            logs.

      E.    The Jail Records Office will be designated by the Superintendent to verify and report Inmate
            Population Counts by compiling a Dally Population Shift Headcount Report and forwarding
            these to the Chief Administrative OHlcer for signature utilizing the foUowlng procedure:

            1.       Under the Operations Logging Activities menu, in the JMS computer system, retrieve
                     all HEADCOUNT (UNIT) floor activity notes entered by housing unit staff during each
                     scheduled physical head count.

            2.       Verify each physical head count utilizing the Operations FacUlty Count screen. The
                     count for each area In the "Supv Count" field will be entered In addition to entering
                     the last name and IBM# In the "Supervisor Comments" field for each member
                     conducting the count.

            3.      Jail Records staff will Initiate an Investigation Immediately when any discrepancies
                    are discovered during the count verification process.

      F.    Staff wlll conduct an emergency population count any time It Is necessary to verify the Identity
            and location of an lnmate(s), clvlllan(s), and/or staff. In addition, emergency counts will be
            conducted any time Inmates have been evacuated from a housing area due to an emergency
            situation within the JalVCorrectlonal Facility, In accordance with EMG0·1171;vacua11on
            Procedures.

      G.    Staff members supervising work details within or outside MCJ or MCF will conduct population
            counts at Irregular Intervals throughout the work detail. Any physical headcount discrepancy
            will require the supervising staff member to notify the duty SergeanVshtrt supervisor
            Immediately.

VL    Inmate Movement and Control

      A.    Inmate movement within MCJ and MCF will be governed by the classification status of the
            Inmate being moved. All inmate movement will be controlled and supervised by staff.

      B.    Minimum security Inmates residing at MCF will be permitted to move by themselves within
            the facility hallway to attend programs or actlvilleii provided they have been Issued a
            "Prisoner Pass" by their housing area supervisor. Assigned uhallway staff" will ensure that
            Inmates walk through hallways In a quiet and orderly manner. Inmates Involved In any
            disturbance or Incident within MCF wnl require staff to escort that Inmate to and from any
            program or activity.

      C.    Inmates will be handcuUed behind the back and escorted by at least two staff members
            during any relocation within the facility that Involves a vfolation of JaiVCorrectlonal facility rules
            and regulations that Involves physical Injury to a staff member, civilian, or Inmate. In addition,
            this rule will also Include Inmates who attempt to cause physical Injury toward a staff
            member, civilian, or Inmate, or any attempt of escape or other serious violation of
            JaiVCorrectlonal facUlty rules and regulations. Any further Inmate restraint and/or control will
            be conducted In accordance with JBG0·42 Inmate Movement/Restraint Procedure,
            JBG0·20 Quick Entry Team, and MBG0-05 Use of Restraining Devices.
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VO.     Key Control

        A.     All security keys will be maintained, stored, and secured In Central Control. Central Control
               staff will be responsible for accountability of all security key sets. Key sets that cannot be
               accounted for will be reported to the duty SergeanVshlft supervisor Immediately.

        B.     Staff members requesting a _    securUy key set must surrender their Issued key card or their
               department Identification card to Central Control staff. Central Control staff will place the key
               card!department Identification card on the key sets assigned hook. In addition, Central
               Control staff will log the key set "out" on the JB-23, Key Control Sheet, which Is maintained
               In Central Control, Identifying:

               1.      The key set designation, which Is located on a circular disk attached to the key set.

               2.      'fhe receiving staff member's name/IBM#.

               3.      The time the keys were Issued.

        C.     Key sets that remain within assigned housing areas will be exchanged between staff
               members within the housing area. However, the relieving staff member will surrender their
               key card!department ldenllfi cation card to Central Control staff prior to reporting to the area of
               assignment.

        D.     Staff members relieved of duty during thetr assigned shift will surrender their key set to the
               relieving staff member. Outgoing staff will return all non-essential key sets to Central Control
               upon completion of their tour of duty.

        E.     Swipe cards are utilized throughout various parts of the Monroe County Jail and are Issued to
               all sworn staff members and designated civilian personnel assigned to the Monroe County
               JaiL These cards are uniquely coded and serve as an identifier for that specific Individual.

               1.      Swipe cards will be turned In upon resignation, termination, or at the order of
                       Command Staff. Said cards will be surrendered to the highest ranking Command
                       Officer on duty and forwarded to Jail Administration.

               2.      Additional swipe cards kept In Central Control for use by civilian personnel (I.e.
                       Contract Medical Provider) are to be signed out In accordance with Section VII,
                       eubsectlon B of this order.

                        Note:    Lost or stolen swipe cards must be reported to a supervisor Immediately so
                                 that the card can be deactivated.

        F.     Staff will not allow Inmates to possess security keystswlpe cards for any reason whatsoever.
               Security staff will maintain assigned keys/cards on their person at all times throughout their
               tour of duty.

        G.     Security keys will not be taken outside of the secured area of the Jail/Correctional facility
               without the approval of a duty Sergeant/shift supervisor.
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        H.    Emergency key sets and additional swipe cards for emergency evacuation purposes will be
              maintained, stored, and secured within Central Control and will not be Issued to staff
              members without prior approval from a duty Sergeant/shift supervisor. Emergency key sets
              which access doors leading to outer limits of the secured confines of either MCJ or MCF will
              only be Issued to a Command Staff member.

        I.     Staff will Inspect key sets/swipe cards and ensure that they are In proper working order. Any
               key(s)/card(s) found damaged, missing, or altered In any way will be reported to the duty
               Sergeant/shift supervisor Immediately.

        J.     All keys and key sets will be Inventoried and accounted for on a Master Key Inventory bi-
                           a
               annually by staff member designated by the Administrative Lieutenant. The completed Key
               Inventory will be submitted to the Administrative Lieutenant.

        K.     Staff requesting a replacement key or swipe card will complete and forward a Special
               Report (MB-003) along with MB-069 Key Authorization form to Jail Administration, for
               review and authorization.

VIII.   Firearms Control

        A.     Firearms, ammunition, unauthorized weapons of any kind, or unauthorized handcuff keys are
               strictly prohibited from being introduced Into either MCJ or MCF. All firearms and ammunition
               will be controlled In accordance with 9NVCRR Part 7003 and JBG0·11 Weapon Locker
               Control. A certified firearms Instructor will conduct an Inspection of an MCJIMCF firearms
               and ammunition at least once every 6 months. A written record of such Inspections will be
               maintained and will Include:

               1.      The name of the person conducting the Inspection.

               2.      The date of Inspection.

               3.      The type of and quantity of firearms or ammunitions.

               4.      Any other Information relative to the condition of the firearms or ammunition.

        B.     Upon assignment to a detail that requires a firearms qualified staff member to carry a firearm,
               the member will gain approval from the duty Sergeant prior to being Issued a firearm by the
               Booking supervisor. Firearms and ammunition will be Issued to staff In accordance with
               JBG0-11 Weapon Locker Control.

        C.     fn accordance with 9NVCRR Part 7003.8, facility firearms and/or ammunition wHI be Issued
               only upon the determination of the Ch.lef Administrative Officer. Such determination will be In
               writing and will Include the following:

               1.      Specific facts and reasons underlying the determination.

               2.      Date and time of Issuance and return of any flreanns or ammunition.

               3.      Type and serial number of firearms or ammunition Issued.

               4.      Name of the staff member Issued the firearms or ammunition.
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                                                                                                        JBGO 47-09
                                                                                                           Page 10

             D.      Firearms or ammunition will be Issued only to staff members trained In the use of such
                     equipment by a certified firearms Instructor.

             E.      Only departmentally approved and Issued weapons and service ammunition may be carrled
                     while on duty, In accordance with MBG0·15 Firearms/Deadly Physlc~l Force.

             F.      The storage, Inspection, Issuance, and admlnlstratton of chemical agents w)U be In
                     accordance with the provisions of JBG0-49 Aerosol Subject Restraint, MBG0-12 Less-
                     Lethal Weapons, and 9NYCRR Part 7063.

     IX.     Gifts and Gratuities

             Staff will not be permitted to trade or barter with any Inmate housed within MCJ or MCF. In addition,
             staff will not be permltted to receive or to give any Item whatsoever, or buy from or sell anything to any
             Inmate, or extend to an Inmate any favor or diet, clothing, or any other Item not common to all
             Inmates.

     X.      Portable Radlo(s), Handcuffs, and Oleoresin Capsicum (OC)

             Staff will ensure that they keep all issued equipment on their person at all times. In accordance with
             MBG0-26 Uniforms and Equipment, staff members assigned to the Jail Bureau will be responsible
             for their assigned portable radios, handcuffs, OC, and any other equipment as It was originally issued.
             As stated In Section I, subsection B of this order, members and employees will be responsible for
             lost, stolen, misplaced, altered, or damaged Items. In addition, If such loss Is attributed to employee
             neglect or carelessness, such members and employees may be subject to disciplinary action. Any
             equipment that needs to be replaced for any reason due to damage, excessive wear, loss, or theft will
             be documented on a Special Report wllh the necessary replacement form pursuant to MBG0-26
             and Immediately reported to a supervisor. A copy of said report will be forwarded to Jail
             Administration.




                                                                                           By Order of the Sheriff,

                                                                                    ~~Af·eJ~~···?
                                                                                              Patrick M. O'Fiynn



             •        Indicates significant changes from the previous order.
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            Exhibit B
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                                           COUNTY OF MONROE
                                       OFFICE OF THE SHERIFF
                                         ROCHESTER, NEW YORK

     GENERAL ORDER                   DATE OF ISSUE            EFFECTIVE DATE                          No.
      JAIL BUREAU                    March 19 2009             March 19, 2009                    *5B~J~09

SUBJECT: GENERAL ORDER                                            DISTRIBUTION                   AMENDS

                     Incident Report                              Jail Personnel

REFERENCE:                                                                                      RESCINDS
                                                                                               MBGO 11-99



Purpose:         To establish policy and procedures for the use and completion of the Incident Report        (JB~
                 136) for Jail Bureau members.

Polley:          The Incident Report will be used by the Jail Bureau to record and document any
                 circumstances surrounding incidents of a non~criminal nature.

I.        General

          The Incident Report will be used for the following types of situations, (reference JBG0~52
          Reportable Incidents, JBG0-43 Incident Command System for Jail Operations, and JBG0-31
          Mental Health Protocols):

          A.     Fires.

          B.     Deaths.

          C.     Suicides and suicide attempts.

          D.     Motor vehicle accidents involving Department vehicles (i.e. a Jail Transport car) or damage
                 sustained to Department vehicles sustained In any other way.

                 Note:     This is In addition to any other reports which may be required by other law
                           enforcement or police agencies. (I.e. Report of Motor Vehicle Accident Report
                           Form/MV-104, Fleet Damage Report.)

          E.     All jail-related incidents and situations involving staff/civilian/Inmate injuries, inmate
                 Infractions, or any of the following:

                               )>    Fights.
                             _, )>   Hostage situations.
                               ):>   Escape/escape attempts.
                               )>    Contraband.
                               )>    Disturbances.
                               )>    Maintenance/Service problems or disruptions.
                               ):>   Property damage.

          F.        Incidents which require ambulance or fire department response or whenever Incident
                    Command Is used.

          G.     Whenever an inmate is placed on Constant Supervision.

          H.        Any situation that       the   o-.puty   or    supervisor      feels   requires    complete
                    documentation.
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                                                                                                   JBG058·09
                                                                                                         Page2

                    Note:   In any Instance where criminal charges may apply, the appropriate agencies will
                            be notified for investigation. Reference JBGO 54-08 Criminal Investigations
                            of Incidents Occurring In Jail Facilities.

II.     Form Preparation

        Page 1 of_ at the bottom right of the form indicates the total number of pages that are Included
        for the Initial report. An Addendum Report (JB·300) will be utilized as a continuation page of the
        Incident Report when needed.

        Block 1:            Incident Type: Drop down box. Select which descriplion is most accurate to the
                            incident being reported.

        Block 2:            Classification (Supervisory Review): If the supervisor agrees with the original
                            classification, this box will contain only the supervisor's signature. If the
                            supervtsor disagrees, he/she will strike out the classification In Block 1, enter the
                            proper classification, and Initial the re-classification.

        Block 3:            CR I# (3a) and IMS # (3b): This is the CR number and/or IMS number assigned
                            to the incident. The IMS number will be generated for all reportable incidents
                            according to current procedures. Should the incident also be of a criminal
                            nature, both the CR and IMS numbers will be listed.

        Block 4:            Time of Occurrence: All dates will be entered as double digits (I.e. 02/25/09)
                            and all time will be recorded in military time (i.e. 10:35 pm Is entered as 2235).

        BlockS:             When Reported: Month/day/year and the time the incident was reported to a
                            supervisor.

         Block 6:           Response Code:       Drop down box.      Enter appropriate "Code" if a Code was
                            called/used.

        Block 7:            Location (7a): The housing area or jail location where the incident occurred, i.e.
                            3MW25, 3 North Minors common area, Plaza Mezz Towers connecting hallway,
                            600 Unit, 41h floor Hall of Justice, etc. Facility (7b): Drop down box. Select
                            area/facility where the Incident occurred.

        Block 8:            Persons Involved: Enter Name, Sex, Race (drop down box), Date of Birth
                            (008), Jail Housing Location/Assignment, their MCJ 10/MoRIS #, their
                            Classification (drop down box) - i.e. Sentenced, Federal, etc, and Code (drop
                            down box) of each person involved in the incident. Code refers to the subjects
                            nature of Involvement, I.e. was the "victim", was the "major'' (main
                            subjecVInltlated the Incident), "minor'' (was less involved in incident/not the
                            subject, etc).

         Block 9:           Were there Injuries resulting from this Incident?: Check any and all boxes
                            that are applicable.

         Block 10:          Evaluated (Location) (10a): Drop down box. Mark appropriate location
                            of where the subject (If Injured) was medically treated. When Evaluated (1 Ob):
                            The date and time medical treatment was provided.

         Block 11 :         Narrative: Use this block to describe details of the incident. If the narrative
                            expands on Information from a prior block, then place the appropriate number of
                            that 'block in the shaded margin. Then, adjacent to that number. continue with
                            the information. When ready to start the narrative body of the report, place 11 in
                            the shaded margin and then write the report In the space provided.
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                                                                                             JBGO 58·09
                                                                                                 Page3

        Block 12:       MCSO Tech Work (IBM): Check the appropriate box that indicates whether a
                        Technician was required/used and their IBM#.

        Block 13:       Jail Tech Work (IBM): This applies if photograph(s) were taken by jail
                        personnel. If so, check the "Photos by" box and indicate the IBM #I of the
                        member who took the photograph(s). If property/evidence was collected, check
                        the approprlate.box and indicate the IBM It of the member who collected it.

        Block 14:       Reporting Officer (14a): Type reporting officer name and IBM#. The signature
                        of the reporting oHicer is provided in (14b).

        Block 15:        Assisting Staff: Enter the name{s) and IBM # of any staff member who
                         provided assistance.

        Block 16:       Supervisor Notified: Name of the Immediate supervisor thai was notified.

        Block 17:       Supervisor Approving: Signature of the approving supervisor, their IBM#, and
                        the date the report was approved/signed.

        Block 18:       Platoon Commander Review: Signature of the approving Platoon Commander,
                        their IBM #, and the date the report was approved/signed.

        Block 19:       Security Action Taken: Is to be used by supervisors to document any and all
                        further action that was taken in regard to the reported incident. Any and all
                        applicable boxes will be checked. Appropriate documentation will be attached as
                        required.

        Block 20:        For Administrative Use Only (Administrative Review): Signature, rank/title,
                         and IBM It of the Administrative Supervisor reviewing/approving the report and
                         the date.

        Block 21:        For Administrative Use Only (Action Taken): Referral of the incident for
                         follow-up as applicable. To be completed by the Administrative Supervisor
                         reviewing/approving the report.

IU.     Distribution/Maintenance and Review of Incident Reports

        A.      Supervisory personnel will review and approve the report(s) and forward copies to all
                applicable and prescribed areas.

        B.      Copies of all completed reports .and supplementary information pertaining to reportable
                incidents will be maintained on file In Jail Administration.

        C.      The Superintendent and/or designated staff will review, on a regular basis, all reports
                resulting from the review and/or investigation of reportable incidents In accordance with
                current procedures.


                                                                                  By Order of the Sheriff,
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                                                                                    Patrick M. O'Fiynn


         •   Indicates significant changes from the previous Order.
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            Exhibit C
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